Case HOZ ev-029 ppocument 1 Filed on 08/07/02 Ce Page 1 of 7

 

Soulnited States ¢,

COMPLAINT UNDER 42 USC §1983, CIVIL RIGHTS ACT-TDCJ-ID (Rev. a”) “m Piece Of Texas

IN THE UNITED STATES DISTRICT CourT ™ AUG 07 2002
FORTHE _ SOUTHERN DISTRICT OF TEXAS Michael »: ay:
HOUSTON DIVISION ™ Milby, Clery

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MARTO ALBERTO MEDRANO #1086181
Plaintiff's name and ID Number

COFFIELD UNIT, TDCJ-ID H - 02-2976

Place of Confinement

 

CASE NO.
(Clerk will assign the number)

 

Vv.

TOMMY B. THOMAS, F. PETRUSKA, C.L. MILLER,
Defendant's name and address

 

ONE UNKNOWN SHERIFF'S DEPUTY, HARRIS CO.

 

SHERIFF'S OFFICE, 1301 FRANKLIN ST.,
HOUSTON, TX 77002

Defendant's name and address

(DO NOT USE "ET AL.")
G. SLOT, BAYTOWN POLICE DEPT., BAYTOWN, TX 77521

 

 

I. PREVIOUS LAWSUITS:

A. Have you filed any other lawsuits in state or federal court relating to your
imprisonment? __ YES % NO

B. If your answer to "A" is "yes," describe each lawsuit in the space below. (If there is more than
one lawsuit, describe the additional lawsuits on another piece of paper, giving the same
information.)

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1. Approximate date of filing lawsuit: N/A
2. Parties to previous lawsuit:

Plaintiff(s) N/A

Defendant(s) N/A

 

 

3. Court (If federal, name the district; if state, name the county) N/A
4. Docket Number: N/A

5. Name of judge to whom case was assigned: N/A

6.

Disposition: (Was the case dismissed, appealed, still pending?)
N/A

7. Approximate date of disposition:_N/A

 

ATC1982 (Rev.04/98) , 2
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Case *:02-cv-029'/gmpPocument 1 Filed on 08/07/02 "eo Page 2 of 7

PLACE OF PRESENT CONFINEMENT: ___COFFIELD UNIT, RT. 1 BOX 150, TENN,
COLONY, “TX 75884

EXHAUSTION OF GRIEVANCE PROCEDURES:
Have you exhausted both steps of the grievance procedure in this institution? _ YES x NO
Attach a copy of the Step 2 grievance with the response supplied by the prison system.

PARTIES TO THIS SUIT:

A. Name and address of plaintiff: MARIO ALBERTO MEDRANO
RT. 1 BOX 150

TENN. COLONY, TX 75884

 

B. Full name of each defendant, his official position, his place of
employment, and his full mailing address.

Defendant #1: TOMMY B, THOMAS, SHERIFF “HARRIS co. SHERIFF * S OFFICE (HCSQ)
1301 FRANKLIN ST., HOUSTON, TX 77002

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

FAILURE TO PROPERLY TRAIN AND/OR SUPERVISE DEFENDANTS #2-5.

Defendant #2 F- PETRUSKA, SGT. (HCSO), 1301 FRANKLIN ST., HOUSTON, TX 77002

 

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.
FAILURE TO PREVENT EXCESSIVE USE OF FORCE BY DEFENDANTS #3-6.

Defendant #3: C-L. MILLER, DEPUTY (HCSO)-same address as above.
, Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.
FAILURE TO PREVENT EXCESSIVE USE OF FORCE/USE OF EXCESSIVE FORCE.
Defendant #4:M. SIMS, DEPUTY (HCSO) same address as above.

 

 

 

 

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.
FAILURE TO PREVENT EXCESSIVE USE OF FORCE/USE OF EXCESSIVE FORCE.

Defendant#5: ONE UNKNOWN SHERIFF'S DEPUTY, (HCSO) same address as above.

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.
eEXCESSIVE USE OF FORCE.

Defendant #5: G. SLOT, OFFICER, BAYTOWN POLICE DEPT., BAYTOWN, TX 77521

EXCESSIVE USE OF FORCE/ FAILURE TO PREVENT EXCESSIVE USE OF FORCE.
STATEMENT OF CLAIM:

 

 

 

State here in a short and plain statement the facts of your case, that is, what happened, where did it
happen, when did it happen, and who was involved. Describe how each defendant is involved. You
need not give any legal arguments or cite any cases or statutes. [f you intend to allege a number of
related claims, number and set forth each claim in a separate paragraph. Attach extra pages if

necessary, but remember that the complaint must be stated briefly and concisely. IF YOU
VIOLATE THIS RULE, THE COURT MAY STRIKE YOUR COMPLAINT.

1) On August 11, 2000 Noey Lopez asked me to accompany him to the La

 

Quinta Inn near Greenspoint Mall in Harris County, Texas to help him

ATC1983 (Rev.04/98) 3.

 
Case H02-<V-029 (jm Pocument 1 Filed on 08/07/02 in JXSD Page 3 of 7

collect money owed to him. I agreed to go with him. We were both armed

because the guy who owed him the money might not want to pay.

2) I entered the motel room, Room 247, with Lopez. We had our guns out
as a precaution. Eddie Roberts, an undercover HCSO deputy, unknown to me
as such, was in the room. He ran towards the bathroom, pulling a gun, as

we entered. He then fired his gun at us without identifying himself as a

 

 

police officer.

 

3) I reflexively pulled the trigger of my gun, but it was not pointed at
Con't on next page

VI. RELIEF:

State briefly exactly what you want the court to do for you. Make no legal arguments. Cite no cases
or Statutes. ,

1) A declaratory judgement that the Defendants violatéd my civil rights;

 

2) Monetary and compensatory damages in the amount of $250,000.00;

3) Punitive damages in the amount of $750,000.00; and
4) Any and all costs and attorney fees.
vo—. BACKGROUND INFORMATION:

 

A. State, in complete form, all names you have ever used or been known by including any and all
aliases:
Mario Medrano, Mario Alberto Medrano .

 

B. List all TDCJ-ID identification numbers you have ever been assigned and all other state or

federal prison or FBI numbers ever assigned to you, if known to you.
“#108161 #1086181

von. SANCTIONS:

A. Have you been sanctioned by any court as a result of any lawsuit you have filed? YES
X_NO

B. If your answer is "yes", give the following information for every lawsuit in which
sanctions were imposed. (If more than one, use another piece of paper and answer
the same questions.)

1. Court that imposed sanctions (if federal, give the district and division): N/A

2. CaseNumber:_N/A i;

3. Approximate date sanctions were imposed:_N/A_-__*

4. Have the sanctions been lifted or otherwise satisfied? | YES NO N/A

C. Has any court ever wamed or notified you that sanctions could be imposed? ____ YES_X_NO

D. If your answer is "yes", give the following information for every lawsuit in which
warning was imposed. (If more than one, use another piece of paper and answer

ATC1983 (Rev.04/98) 4
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Case ann | Document 1 Filed on 08/07/02 on Page 4 of 7

Roberts or anyone else, and both bullets went into the wall away from where
Roberts was going.

4) Lopez shot at Roberts, striking him once in the head. Other officers
outside then began a shootout with Lopez.

5) I did not know what was going on because I did not hear anyone saying they
were police officers. I became scared at all the shooting and retreated to the
bathroom where Roberts was lying on the floor. I did not participate in the
shoot-out .

6) Lopez finally ran out of the room and jumped over the railing trying to
flee. He was killed.

7) Sgt. Petruska entered the room. He was the on scene officer in charge. It
was only after I saw the badge around his neck that I understood it was the
police shooting it out with Lopez. I put down my gun, which had not been aimed
at Petruska or any other officer, dropped to my knees in surrender.

8) Other officers entered the room, including C.L. Miller, M. Sims, and G.
Slot. One officer had a video camera and was taping everything that happened.
I was handcuffed with my hands behind my back while leaning over the bed.

9) Officer slot put his gun to my head and threatened to kill me. Sgt.
Petruska and Deputies Miller and Sims stocd there and watched him do this
without doing anything to stop him. I was then pushed over onto the floor but
do not know who did it.

10) At that time the one unknown Sheriff's Deputy began to kick me in the head.
I was kicked 6-8 times. The force of the kicks caused my jaw to be broken in
two places. I was stunned after the first kick and trying to protect myself so
did not get a chance to see who was kicking me at that time. I had done
nothing to warrant this attack. I believe it could have been Deputies Miller

or Sims, but am not sure because I do not know what names go with which officer

-4a-
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at this time.

11) Sgt. Petruska did nothing to stop the officer from kicking me and neither
did any of the other officers present.

12) Tommy B. Thomas, as Sheriff of Harris County, is responsible for the
training and supervision of the deputies working for the Harris County
Sheriff's Office. This includes the prpper procedures for the arrest and
handling of persons suspected of criminal offenses. Arrested suspects who are
posing no threat to the arresting officers are not supposed to have guns
pointed at their heads and threatened with death, nor are they supposed to be
kicked in the head while lying on the floor handcuffed and other officers are
not supposed to stand around and allow a suspect to be so abused.

13) I had to be transported to Ben Taub Hospital for medical treatment of my
injuries. My broken jaw required surgery and I still have metal plates/pins in
my jaw as a result. It took a year for my jaw to heal although I still suffer
headaches and continual pain in my jaw.

14) After being initially treated at Ben Taub Hospital I was taken to the
Harris County Sheriff's Office for questioning and processing. While in the
interrogation room I saw a TV which was showing the video tape of the scene
when I was arrested. I saw the officer who kicked me before I was observed
watching the TV and it was turned off. The tape was edited/erased later so
that it no longer showed me being assaulted by that officer but he was at the
trial and I recognized his face and can still identify him if I see him or his

picture again.

-4b-
Case HO2-ev-0297 gmpocument 1 Filed on 08/07/02 in © Page 6 of 7 .

the same questions.)

1. Court that imposed waming (if federal, give the district and division): N/A
2. Case Number: N/A

3. Approximate date warnings were imposed: N/A

Executed on: _7~3{-O2 Moria Ab at: Dtebone

(Signature of plaintiff)

 

PLAINTIFF'S DECLARATIONS

1. [declare under penalty of perjury all facts presented in this complaint and attachments thereto

are true and correct.
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2. I understand if I am released or transferred, it is my responsibility to keep the Court informed of
my current mailing address and failure to do so may result in the dismissal of this lawsuit.

3. [understand that I must exhaust all available administrative remedies prior to filing this lawsuit.

4. J understand I am prohibited from bringing an in forma pauperis lawsuit if I have brought three
or more civil actions in a Court of the United States while incarcerated or detained in any
facility, which lawsuits were dismissed on the ground they were frivolous, malicious, or failed to
state a claim upon which relief may be granted, unless [ am under imminent danger of serious
physical injury.

5. Lunderstand even if] am allowed to proceed without prepayment of costs, | am responsible for
the entire$150 filing fee and costs assessed by the Court, which shall be deducted in accordance
‘with the law from my inmate account by my custodian until the filing fee is paid.

 

 

Signed this 3) >‘ dayof July B2002.,
(Day) (month) (year)
(Signature of plaintiff)

WARNING: The Plaintiff is hereby advised any false or deliberately misleading information provided
in response to the following questions will result in the imposition of sanctions. The sanctions the
Court may impose include, but are not limited to monetary sanctions and/or the dismissal of this
action with prejudice. . an

ATC1983 (Rev.04/98) 5

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CIVIL RIGHTS ACT-TDCJ-I
PLEASE READ CAREFULLY

NOTICE:

Your complaint is subject to dismissal unless it conforms to these instructions and this form.

ues

To start an action you must file an original and one copy of your complaint with the court. You should
keep a copy of the complaint for your own records.

Your complaint must be legibly handwritten, in ink, or typewritten. You, the plaintiff, must sign and
declare under penalty of perjury that the facts are correct. If you need additional space, DO NOT USE
THE REVERSE SME OR BACK SIDE OF ANY PAGE. ATTACH AN ADDITIONAL BLANK
PAGE AND WRITE ON IT.

You must file a separate complaint for each claim you have unless the various claims are all related to
the same incident or issue or are all against the same defendant, Rule 18, Federal Rules of Civil
Procedure. Make a short and plain statement of your claim, Rule 8, Federal Rules of Civil Procedure.

When these forms are completed, mail the original and‘one copy to the Clerk of the United States Court
for the appropriate District of Texas in the Division where one or more named defendants are located, or
where the incident giving rise to your claim for relief occurred. The list labeled as “VENUE LIST" is
posted in your unit law library. It is a list of the Texas prison units indicating the appropriate District
Court, the Division and an address list of the Divisional Clerks.

FILING FEE AND IN FORMA PAUPERIS

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2.

{n order for your complaint to be filed, it must be accompanied by the filing fee of $150.00.

If you do not have the necessary funds to pay the filing fee in full at this time, you may request
permission to proceed in forma pauperis. In this event you must complete the application to proceed in
forma pauperis (IFP), setting forth information to establish your inability to prepay the fees and costs or
give security therefor. You must also include a current six (6) month history of your Inmate Trust
Account. You can acquire the application to proceed IFP and appropriate Inmate Account Certificate
from the law library at your prison unit.

28 U.S.C. 1915, as amended by the Prison Litigation Reform Act of 1995 (PLRA), provides, “...if'a
prisoner brings a civil action or files an appeal in forma pauperis, the prisoner shall be required to pay
the full amount of a filing fee.” Thus, the Court is required to assess and, when funds exist, collect, the
entire filing fee or an initial partial filing fee and monthly installments until the entire amount of the
filing fee has been paid by the prisoner. If you submit the application to proceed in forma pauperis , the
Court will apply 28 U.S.C. 1915 and, if appropriate, assess and collect the entire filing fee or an initial
partial filing fee, then monthly installments from your Inmate Account, until the entire $150 filing fee
has been paid.

If you intend to seek in forma pauperis status, then do not send your complaint without an Application to
Proceed IFP, and the Certificate of Inmate Trust Account. Complete all the essential paperwork before
submitting it to the Court. ‘

CHANGE OF ADDRESS -

It is your responsibility to inform the Court of any change of address and its effective date. Such notice

should be marked “NOTICE TO THE COURT OF CHANGE OF ADDRESS’ and shall not include any
motion (s) for any other relief. Failure to filea NOTICE TO THE COURT OF CHANGE OF ADDRESS
may result in the dismissal of your complaint pursuant to Rule 41(b), Federal Rules of Civil Procedure.

ATC1983 (Rev. 04/98)
